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WES§T:§`§\?§?`=Y 1 UNI'I`ED STATES DISTRICT COURT

  

FOR THE WES'I`ERN DISTRICT OF LOUISIANA

SI~IREVEPOR'I` DIVISION

 

RITA HENDERSON, ET AL.

versus ' CIVIL ACTION NO. 13-2156 '
, __ ' _' - _ . _ ' - IUDGE TOM STAGG
NEXION HEALTH AT MINDEN, INC. ` `
d/b/a-MEADOWWEW HEA_LTH &
REHABILITATION CENTER .

 

JUDGMENT
Ba§ed 011-the foregoing Memorandum Rulifzg;
-IT ls GRDEREI) that this case is hereby REMANDEI) to the Twenry_Sixth
Judiciai Disuict Court for the P'a:rish of Websterl, State of Louisiziné.

- _ THUS DONE AND SIGNED at Shre_vepqrt, Louisiana, this the 1/ ~F day of

JTJBG'E TOM STA '

October, 2013.

 

